Case 23-13377-SDM           Doc 39-1 Filed 06/24/24 Entered 06/24/24 15:20:27             Desc
                               Proposed Order Page 1 of 1




                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


RE: RACHEL M. McMILLIAN                                             CASE NO: 23-13377-SDM
    DEBTOR                                                          CHAPTER 13


       ORDER APPROVING MOTION FOR MODIFICATION OF PLAN (Dkt#39)


        A motion and notice of modification of plan having been filed in the above styled and

numbered Chapter 13 bankruptcy proceeding dated June 24, 2024, and no written objections

having been filed within thirty (30) days, it is therefore,

       ORDERED AND ADJUDGED that the motion for modification of plan in the above

styled and numbered Chapter 13 bankruptcy proceeding is granted. The debtor’s plan shall be

modified to pay the priority amount of $2,352.00 (claim #9) owed to the Mississippi Department

of Revenue. The Chapter 13 Trustee shall amend the wage order accordingly.

                                     ###END OF ORDER###


Submitted by:
Kimberly B. Bowling, #99906
MITCHELL & CUNNINGHAM, PC
112 North Broadway
Post Office Box 7177
Tupelo, MS 38802-7177
(662) 407-0408
tupelo@mcbfreshstart.com
